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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


EMQORE ENVESECURE PRIVATE CAPITAL TRUST,


                             Plaintiff,

                       v.
                                                           COMPLAINT
BHAVDEEP SINGH; FORTIS HEALTHCARE LTD.;
EAST BRIDGE CAPITAL MASTER FUND LTD.;
EAST BRIDGE CAPITAL MASTER FUND I LTD.;
EAST BRIDGE CAPITAL MANAGEMENT LP;
FORTIS HEALTHCARE HOLDINGS; IHH
HEALTHCARE BERHAD; KHAZANAH NASIONAL
BERHAD; NORTHERN TKVENTURE PTE. LTD.;
RHC HOLDINGS PRIVATE
LTD.; RHC HEALTHCARE PRIVATE LTD.;
SRL LIMITED; RELIGARE ENTERPRISES LTD.;
RELIGAREFINVEST LTD.; LAKSHMI VILAS BANK;
RANCHEM PRIVATE LIMITED; NEW YORK
LIFE INVESTMENT MANAGEMENT, LLC;
INTERNATIONAL FINANCE CORPORATION;
SIGULER GUFF & COMPANY, LP; BAY CAPITAL
ADVISORS PVT. LTD; SSG CAPITAL MANAGEMENT
LTD.; INDIA HORIZONS FUND LTD.; RESILIENT
INDIA GROWTH FUND; RELIGARE HEALTH TRUST;
SIDDHARTH MEHTA; SHAM MAHESHWARI; RAVI
RAJAGOPAL; and ABC CORP. (1 – 10) (fictitious entities),


                             Defendants.




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         Plaintiff Emqore Envesecure Private Capital Trust (“Plaintiff” or “Emqore”), by way of

Complaint against Defendants states, as follows:

                                             OVERVIEW

         1.       This case involves a complex scheme by Defendants comprised of a multitude of

transactions and feigned transactions each designed to cover-up Defendants’ actions and inactions,

obfuscate the facts and deprive Plaintiff and Plaintiff’s predecessors, Strategic Credit Capital Pvt.

Ltd. (“Strategic”), Participation Finance & Holdings (India) (“PFH”), Loancore Servicing

Solutions Private Limited, Loancore Limited, Walmark Health Private Limited, and Walmark

Holdings Limited (collectively, “Plaintiff’s Predecessors”), of the benefit of their bargain.

         2.       The management and control of the racketeering scheme, along with the funds

which made the scheme possible, derived in substantial part from Defendants located in the United

States, which reaped the rewards of the illegal enterprise. In an effort to cover-up Defendants’

gross negligence and complicity in a fraud perpetrated by Malvinder and Shivinder Singh (“the

Singh Brothers”), who are now in prison for their crimes, Defendants concocted an illegal

fraudulent scheme of their own to shirk their responsibility.

         3.       After Plaintiff’s Predecessors entered into agreements to purchase certain interests

and assets in the Religare entities and the Fortis entities, Plaintiff’s Predecessors identified frauds

above and beyond the criminal activity of the Singh Brothers.

         4.       Plaintiff’s Predecessors’ discovery of the various Defendants’ active roles or

complicity in the criminal activity of the Singh Brothers meant that Defendants must cover-up

their own involvement or become implicated in the Singh Brothers’ scheme.

         5.       As set forth in detail below, upon learning that Plaintiff’s Predecessors were

discovering Defendants’ involvement with the Singh Brothers, Defendants took fraudulent steps




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to cover their involvement in the scheme by filing sham lawsuits against the Singh Brothers, which

drove the value of the companies down, reducing the share prices for REL and Fortis Ltd.

Defendants sought to cover-up their willful blindness or contrived ignorance relating to the Singh

Brothers’ fleecing of the entities.

         6.       Moreover, Defendants replaced board members of the entities in furtherance of the

scheme to shield their involvement with the Singh Brothers from the light of day.

         7.       Having driven the value of the entities down and replacing board members,

Defendants then illegally reneged on the agreements with Plaintiff’s Predecessors and took over

control of the Religare and Fortis entities through self-dealing.

         8.       Defendants swindled Plaintiff’s Predecessors out of the deals because Plaintiff’s

Predecessors uncovered Defendants’ participation in the Singh Brothers’ scheme.

PARTIES

a.       Plaintiff

         9.       Plaintiff Emqore Envesecure Private Capital Trust is trust settled under the laws of

Wyoming with a principal place of business at 1712 Pioneer Avenue, Suite 387, Cheyenne,

Wyoming 82001.

         10.      By Assignment Deed, plaintiff Emqore acquired all rights, title and interest of

Loancore Servicing Solutions Private Limited, Loancore Limited, Walmark Health Private

Limited, Walmark Holdings Limited, Stratgala AG and Emqore OU in the contracts, agreements,

arrangements, understandings, and commitments relating to the following: brands of Religare;

rights in the shareholding of Elive Infotech Private Limited (“Elive”); funding from LVB Bank

(“LVB”); proceeds of any put option or purchase option provided by Religare Enterprises Limited

(“REL”); proceeding, actions or remedies against REL or Religare Finvest Limited (“RFL”)




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pertaining to the brands or LVB pertaining to any funding commitments; and beneficial interest in

any penalty fee agreement or other assurances provided by REL.

         11.      Strategic Credit Capital Pvt. Ltd. (“Strategic”) is an Indian company with a business

address at A49 Mohan Cooperative Industrial Area, New Delhi 110044.

         12.      Participation Finance & Holdings (India) (“PFH”) is an Indian company with

business addresses at Number 1 Subhash Nagar, Dehradun, Uttranchal 248002 and A49 Mohan

Cooperative Industrial Area, New Delhi 110044.

         13.      On February 18, 2019, Strategic and PFH assigned their rights, title, and interest to

Loancore Servicing Solutions Private Limited for contracts, agreements, arrangements or

understandings relating to the following: the brands of Religare; any rights in the shareholding of

Elive Infotech Private Limited; funding from LVB; proceeds of any put options or purchase option

provided by Religare Enterprises Limited for the acquisition of the brands; proceeding, actions or

remedies against Religare Enterprises Limited pertaining to the brands or LVB Bank pertaining to

funding commitments.

         14.      On February 18, 2019, PFH assigned all rights, title and interest to Walmark Health

Private Limited for contracts, agreements, arrangements or understandings relating to the

following: the brands of Fortis Healthcare Limited, including but not limited to “Fortis” La

Femme” and “SRL”; costs, fees, causes of action or claims against Fortis Healthcare Limited and

Fortis Healthcare Holdings Limited; proceeds of any put options or purchase option provided by

Fortis Healthcare Limited and Fortis Healthcare Holdings Limited; proceeding, actions or

remedies against Fortis Healthcare Limited and Fortis Healthcare Holdings Limited or RHC

Healthcare Management Private Limited

b.       Defendants




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         i.       Fortis Defendants

         15.      Defendant Bhavdeep Singh is an individual with an address of 56 Walsh Dr.,

Mahwah, New Jersey and at all relevant times herein was Chief Executive Officer of Defendant

Fortis Health Care Limited.

         16.      Defendant Ravi Rajagopal is an individual with an address at Unitech Business

Park, A, Netaji Subhash Marg, Block F, South City I, Sector 41, Gurugram, Haryana 122001,

India.

         17.      Defendant Fortis Healthcare Ltd. (“Fortis Ltd.”) is a public company with a

business address at Tower A, Unitech Business Park, Block – F, South City 1, Section – 41,

Gurgaon, Haryana - 122001.

         18.      Defendants East Bridge Capital Master Fund Ltd. and East Bridge Capital Master

Fund I Ltd. (collectively “East Bridge”) are affiliates of defendant East Bridge Capital

Management LP, which is a Delaware limited partnership with a business address at 1 Financial

Center, Boston, Massachusetts.

         19.      Defendants East Bridge Capital Master Fund Ltd. and East Bridge Capital Master

Fund I Ltd. are shareholders of defendant Fortis Ltd.

         20.      Defendant Fortis Healthcare Holdings (“Fortis Holdings”) is an Indian company

with a business address at Tower A, Unitech Business Park, Block – F, South City 1, Section – 41,

Gurgaon, Haryana - 122001.

         21.      Defendant IHH Healthcare Berhad (“IHH Berhad”) is a Malaysian company with

a business address at Level 11 Block A, Pantai Hospital Kuala Lumpur, 8 Jalan Bukit Pantai,

59100, Malaysia.




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         22.      Defendant, Khazanah Nasional Berhad (“Khazanah”) is a sovereign wealth fund,

with a business address at Level 22, Mercu UEM, Jalan Stesen Sentral 5, Kuala Lumpur Sentral

50470 Kuala Lumpur. Upon information and belief, Khazanah is part of an investigation by the

United States Department of Justice in the Southern District of New York regarding the 1Malaysia

Development Berhad fraud. Upon information and belief, Khazanah is one of the largest

shareholders in IHH Berhad and at all relevant times was the majority shareholder of IHH Berhad.

         23.      Defendant Northern Tk Venture Pte. Ltd. (“NTVP”) is a Singaporean company

with a business address at 111, Somerset Road, # 15-01, TripleOne Somerset, Singapore 238164.

         24.      Defendant RHC Holdings Private Limited (“RHC Holdings”) is an Indian company

with a business address at 54, Connaught Place, Janpath, New Delhi, Delhi 110001. RHC

Holdings is the private investment vehicle of the Singh Brother and also the parent company of

Fortis Holdings that in turn was the majority shareholder of Fortis Ltd.

         25.      Defendant RHC Healthcare Management Services Private Ltd. (“RHC

Healthcare”) is an Indian company with a business address at 54, Connaught Place, Janpath, New

Delhi, Delhi 110001.

         26.      Defendant SRL Limited (“SRL”) is an Indian company and a subsidiary of Fortis

Ltd. with a business address at GP-26, Maruti Industrial Est Udyog Vinar, Sector – 18, New Delhi,

122015 India.

         ii.      Religare Defendants

         27.      Defendant Religare Enterprises, Ltd. (“REL”) is an Indian company with a business

address at 2nd Floor, Rajlok Building, 24, Nehru Place, New Delhi - 110019.

         28.      Defendant Religare Finvest Ltd. (“RFL”) is an Indian company with a business

address at 2nd Floor, Rajlok Building, 24, Nehru Place, New Delhi - 110019.




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         29.      Defendant Lakshmi Vilas Bank (“LVB”) is an Indian company with a business

address at No. 4, Sardar Patel Road, Guindy, Chennai – 600 032 Tamil Nadu.

         30.      Defendant Ranchem Private Limited (“Ranchem”) is an Indian company with a

business address at G-16, Marina Arcade, Connaught Circus, New Delhi - 110001.

         31.      Defendant New York Life Investment Management, LLC (“NYLIM”) is a limited

liability company with a business address at 30 Hudson Street, Jersey City, New Jersey. Defendant

NYLIM owned approximately 7% of Defendant RFL through NYLIM Jacob Ballas India Fund III

LLC and maintained board representation in RFL. Upon information and belief, NYLIM also holds

an equity interest in SRL and continues to enjoy board representation in SRL.

         32.      Defendant International Finance Corporation (“IFC”) is a member of the World

Bank Group with a business address at 2121 Pennsylvania Ave., NW, Washington, DC 20433. At

all relevant times, IFC owned substantial shares in Defendant REL, and IFC maintained a

representative on REL’s Board of Directors until on or about April 24, 2017. Defendant IFC also

holds an equity interest in Defendant SRL.

         33.      Defendant Siguler Guff & Company, LP (“Siguler”) is a United States company

with a business address at 200 Park Ave., 23rd Floor, New York, NY 10166. At all relevant times,

Siguler owned approximately 6% in Defendant RFL through Resurgence PE Investments Limited

(formerly known as Avigo PE Investments Limited). Siguler also holds an equity interest in SRL.

         34.      Defendant Bay Capital Advisors Pvt. Ltd. (“Bay Capital”) is an Indian company

with a business address at Bakhtawar, 14th, Nariman Point, Mumbai, Maharashtra 400021, India.

         35.      Defendant Siddarth Mehta is an individual with an address at 19 Berkeley Street,

Mayfair, London, W1J 8ED, United Kingdom.




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         36.      Defendant SSG Capital Management Ltd. (“SSG”) is a Hong Kong company with

a business address at 42/F Gloucester Tower, 15 Queens Road Central, Hong Kong.

         37.      Defendant Sham Maheshwari is an individual with an address at Rooms 4202-4204,

42/F, Gloucester Tower, The Lnadmark, 15 Queens Road Central, Central, Hong Kong.

         38.      Defendant India Horizons Fund Ltd. (“IHF”) is a Mauritian company with a

business address at C/O Apex Fund Services (Mauritius) Ltd., 4th Floor, 19 Bank Street, Cybercity,

Ebene, Mauritius O4 72201.

         39.      Defendant Resilient India Growth Fund (“RIGF”) is an Indian company.

         40.      Defendant Religare Health Trust (“RHT”) is a Singaporean company with a

business address at 80 Raffles Place, #11-20 UOB Plaza 2, Singapore.

                                          JURISDICTION

         41.      This action involves a matter in controversy which exceeds the sum or value of

$75,000, exclusive of interest and costs.

         42.      The citizenship of Emqore is diverse from the citizenship of all Defendants .

         43.       Defendant Bhavdeep Singh is a resident of New Jersey.

         44.      Defendant Ravi Rajagopal has certain minimum contacts with the forum, such that

the maintenance of the suit does not offend traditional notions of fair play and substantial justice.

More specifically, Ravi Rajagopal, a nominee of East Bridge and Chairman of the Board of Fortis,

was a co-conspirator who participated in the scheme with Bhavdeep Singh and directed acts in

furtherance of the scheme in New Jersey.

         45.      Defendant Fortis Ltd. has certain minimum contacts with the forum, such that the

maintenance of the suit does not offend traditional notions of fair play and substantial justice. More




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specifically, Fortis Ltd., through its Chief Executive Officer, performed acts in furtherance of the

scheme within New Jersey.

         46.      Defendants Fortis Ltd. and Fortis Holdings have certain minimum contacts with the

forum, such that the maintenance of the suit does not offend traditional notions of fair play and

substantial justice. More specifically, Fortis Ltd. and Fortis Holdings, through Fortis Ltd.’s Chief

Executive Officer, performed acts in furtherance of the scheme within New Jersey.

         47.      Defendants East Bridge and East Bridge Capital Management LP, have certain

minimum contacts with the forum, such that the maintenance of the suit does not offend traditional

notions of fair play and substantial justice. More specifically, East Bridge and East Bridge Capital

Management LP were substantial shareholders of Fortis Ltd. who participated in the scheme with

Fortis Ltd. and directed acts in furtherance of the scheme within New Jersey.

         48.      Defendant IHH Berhad has certain minimum contacts with the forum, such that the

maintenance of the suit does not offend traditional notions of fair play and substantial justice. More

specifically, IHH Berhad was a co-conspirator who participated in the scheme with Fortis Ltd. and

directed acts in furtherance of the scheme in New Jersey.

         49.      Defendant NTVP has certain minimum contacts with the forum, such that the

maintenance of the suit does not offend traditional notions of fair play and substantial justice. More

specifically, NTVP was a co-conspirator who participated in the scheme with Fortis Ltd. and

directed acts in furtherance of the scheme in New Jersey.

         50.      Defendant RHC Holdings has certain minimum contacts with the forum, such that

the maintenance of the suit does not offend traditional notions of fair play and substantial justice.

More specifically, RHC Holdings was a co-conspirator who participated in the scheme with Fortis

Ltd. and directed acts in furtherance of the scheme in New Jersey.




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         51.      Defendant RHC Healthcare has certain minimum contacts with the forum, such that

the maintenance of the suit does not offend traditional notions of fair play and substantial justice.

More specifically, RHC Healthcare was a co-conspirator who participated in the scheme with

Fortis Ltd. and directed acts in furtherance of the scheme in New Jersey.

         52.      Defendant REL has certain minimum contacts with the forum, such that the

maintenance of the suit does not offend traditional notions of fair play and substantial justice. More

specifically, REL, through its significant shareholder and co-conspirator NYLIM, which is located

in New Jersey, directed acts in furtherance of the scheme in New Jersey.

         53.      Defendant RFL has certain minimum contacts with the forum, such that the

maintenance of the suit does not offend traditional notions of fair play and substantial justice. More

specifically, RFL, through its significant shareholder and co-conspirator NYLIM, which is located

in New Jersey, directed acts in furtherance of the scheme in New Jersey.

         54.      Defendant LVB has certain minimum contacts with the forum, such that the

maintenance of the suit does not offend traditional notions of fair play and substantial justice. More

specifically, LVB, through its dealings with co-conspirator NYLIM, which is located in New

Jersey, directed acts in furtherance of the scheme in New Jersey.

         55.      Defendant Ranchem has certain minimum contacts with the forum, such that the

maintenance of the suit does not offend traditional notions of fair play and substantial justice. More

specifically, Ranchem, through its dealings with co-conspirator NYLIM, which is located in New

Jersey, directed acts in furtherance of the scheme in New Jersey.

         56.      Defendant NYLIM is domiciled in New Jersey.

         57.      Defendant IFC has certain minimum contacts with the forum, such that the

maintenance of the suit does not offend traditional notions of fair play and substantial justice. More




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specifically, IFC, through its dealings with co-conspirator NYLIM, which is located in New Jersey,

directed acts in furtherance of the scheme in New Jersey.

         58.      Defendant Siguler has certain minimum contacts with the forum, such that the

maintenance of the suit does not offend traditional notions of fair play and substantial justice. More

specifically, Siguler, through its dealings with co-conspirator NYLIM, which is located in New

Jersey, directed acts in furtherance of the scheme in New Jersey.

         59.      Defendant Bay Capital has certain minimum contacts with the forum, such that the

maintenance of the suit does not offend traditional notions of fair play and substantial justice. More

specifically, Bay Capital, through its dealings with co-conspirator NYLIM, which is located in

New Jersey, directed acts in furtherance of the scheme in New Jersey.

         60.      Defendant Siddarth Mehta has certain minimum contacts with the forum, such that

the maintenance of the suit does not offend traditional notions of fair play and substantial justice.

More specifically, Siddarth Mehta, the CIO of Bay Capital, through his dealings with co-

conspirator NYLIM, which is located in New Jersey, directed acts in furtherance of the scheme in

New Jersey.

         61.      Defendant SSG has certain minimum contacts with the forum, such that the

maintenance of the suit does not offend traditional notions of fair play and substantial justice. More

specifically, SSG, through its dealings with co-conspirator NYLIM, which is located in New

Jersey, directed acts in furtherance of the scheme in New Jersey.

         62.      Defendant Sham Maheshwari has certain minimum contacts with the forum, such

that the maintenance of the suit does not offend traditional notions of fair play and substantial

justice. More specifically, Sham Maheshwari, a principal of SSG, was a co-conspirator who




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through his dealings with co-conspirator NYLIM, which is located in New Jersey, directed acts in

furtherance of the scheme in New Jersey.

         63.      Defendant IHF has certain minimum contacts with the forum, such that the

maintenance of the suit does not offend traditional notions of fair play and substantial justice.

More specifically, IHF, through its dealings with co-conspirator NYLIM, which is located in New

Jersey, directed acts in furtherance of the scheme in New Jersey.

         64.      Defendant RIGF has certain minimum contacts with the forum, such that the

maintenance of the suit does not offend traditional notions of fair play and substantial justice.

More specifically, RIGF, through its dealings with co-conspirator NYLIM, which is located in

New Jersey, directed acts in furtherance of the scheme in New Jersey.

         65.      Plaintiff Emqore is a Wyoming trust and completely diverse to all Defendants.

         66.      This Court has diversity jurisdiction pursuant to 28 U.S.C.A. § 1332.

         67.      This Court has subject matter jurisdiction over this action pursuant to 18 U.S.C.A.

§ 1964.

         68.      This Court has supplemental jurisdiction over this action pursuant to 18 U.S.C.A.

§ 1367(a).

                                                VENUE

         69.      Bhavdeep Singh and NYLIM are domiciled in the District of New Jersey.

         70.      Venue of this action is proper in the United States District Court for the District of

New Jersey by virtue of 28 U.S.C.A. § 1391(b)(3).

                               FACTS COMMON TO ALL COUNTS

I.       Background




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         71.      In or about 2008, the Singh Brothers sold their majority-stake in Ranbaxy Limited

(“Ranbaxy”), India’s leading pharmaceutical company, to Daiichi Sankyo of Japan.

         72.      Upon information and belief, the Singh Brothers formed REL and Fortis Ltd.

utilizing the proceeds of the sale of their shares in Ranbaxy.

         73.      In or about 2016, Daiichi Sankyo commenced an arbitration proceeding against the

Singh Brothers based upon the Singh Brothers’ concealment of information prior to and following

the sale of their shares. More specifically, Daiichi alleged that the Singh Brothers concealed

information and fabricated data relating to the number of Ranbaxy products granted approvals by

the United States Food and Drug Administration.

         74.      In 2016, Daiichi Sankyo obtained a $500 million award in the arbitration and

India’s Supreme Court upheld the award.

         75.      Daiichi Sankyo aggressively pursued collection activities against the Singh

Brothers.

         76.      However, by that time, REL and Fortis Ltd, the fruit of the Singh Brothers’ criminal

activities, had grown into financial giants commanding market capitalizations of approximately $3

billion each.

         77.      At the same time, the Board of Directors of REL and Fortis Ltd. were comprised of

people selected and appointed by Mr. Gurmeet Singh Dhillon (“Dhillon) the uncle of the Singh

Brothers.

         78.      Dhillon exercised unrivalled influence over the operations of REL and Fortis Ltd.

since their inception.

         79.      Additionally, the Singh Brothers siphoned funds and misused the resources of REL

and Fortis Ltd.




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         80.      At the time the Singh Brothers were siphoning funds from REL and Fortis Ltd.,

representatives of some of the United States’ leading financial institutions, including NYLIM, IFC,

Siguler and East Bridge, sat on the Board of REL and Fortis Ltd. and their subsidiaries and

approved sham loan transactions to the Singh Brothers of approximately $500 million.

         81.      Upon information and belief, the Board Members permitted the Singh Brothers’

fund siphoning and then evergreening of the loans through funds from either REL and Fortis Ltd.

         82.      REL and Fortis Ltd. rotated the evergreened loans just before the financial year

closing in order to give the false appearance of repayment. These nefarious accounting practices

of REL and Fortis Ltd. resulted in books and records with false financial information for multiple

reporting periods, which grossly inflated the value of the entities.

         83.      Defendants, one or more of them, prepared documentation that did not accurately

reflect the true nature of the arrangements with the criminal Singh Brothers and the

misrepresentations to members of management and the regulators was fraudulent.

         84.      In or about 2016, and running out of ways to scam their own enterprises, the Singh

Brothers decided to sell substantial stakes in REL and Fortis Ltd. to outside investors and

appointed bankers to undertake these stake sales.

         85.      Upon information and belief, after at least one potential investor backed out of a

deal to purchase stakes in REL and Fortis Ltd. in 2017, representatives of Plaintiff’s Predecessors

were introduced to REL and Fortis Ltd.

         86.      To bring Plaintiff’s Predecessors to the negotiating table, REL and Fortis Ltd.

presented a package of inducements and incentives, which would have guaranteed Plaintiff an

upfront upside and also a breakup fee in the event the transaction failed. Plaintiff commenced an

engagement with REL and Fortis Ltd.




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II.      The Religare Shares Scheme

         87.      Loancore is a subsidiary of Institute of Structure Design Private Limited (“ISD”)

and was established by the Ekahi Group1 to invest in REL.

         88.      On or about May 21, 2014, SGGD Projects Development Private Ltd. (“SGGD”),

Bestest Developers Private Limited (“Bestest”) and Shabnam Dhillon (“Dhillon”) executed a

Debenture Trust Deed whereby listed, rated, principal, protected, redeemable non-convertible

debentures (“NCDs”) each of face value of Rs. 10,000,000 (Rupees One Crore)2 consisting of

Debenture Series B aggregating to Rs. 1,850,000,000 (“Series B NCDs”) were issued to One

Investment Opportunities II Pte. Ltd. (“OIO”).

         89.      OIO is the holder of the Series B NCDs.

         90.      IDBI Trusteeship Services Ltd. (“IDBI”), at all relevant times herein, acted on

behalf of OIO.

         91.      In order to secure the NCDs, on September 12, 2016, SGGD, Bestest and Dhillon

executed a Share Pledge Agreement pledging an aggregate of 27,568,309 shares of REL in favor

of IDBI (“Pledge Agreement”).

         92.      In or about November 2016, LVB Bank funded a loan in the amount of

approximately Rupees 750 Crores to RHC Holdings and Ranchem against the fixed deposits of

RFL (“the RFL Loan”).

         93.      In August 2017, Loancore and REL began discussions regarding Loancore taking

over REL.




1
 The Ekahi Group is headquartered in Germany and Estonia and operates family offices out of
Germany, Estonia and Sweden.

2
    1 crore is worth approximately $150,000 (USD).


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          94.     In or about September 2017, LVB set off the fixed deposits of RFL associated with

the RFL Loan.

          95.     On September 12, 2017, JP Morgan, as a representative of REL, through Mr. Akhil

Mittal, began discussions regarding a term sheet for the acquisition.

          96.     On October 5, 2017, ISD (designated as the Investor), REL and Prime Securities

Limited (“PSL”) negotiated a document entitled “Expression of Interest Proposed Merger.” The

Expression of Interest Proposed Merger contemplated a merger of REL and PSL to form a new

entity.

          97.     On October 7, 2017, JP Morgan presented the final financial disclosures for the

transaction (“JP Morgan Reports”).

          98.     The JP Morgan Reports provided that RFL loans were collateralized, however the

loans were not collateralized and the funds were actually being siphoned from the company by the

Singh Brothers.

          99.     The value of REL rested with RFL and that is what Loancore relied upon in entering

the transaction. However, the JP Morgan Reports were false and the RFL numbers in the reports

were part of a ruse by Defendants to inflate the value of REL, RFL and Fortis Ltd..

          100.    Based upon the representations in the JP Morgan Reports, on October 10, 2017,

Loancore and RHC Holdings entered into a binding Heads of Agreement setting forth the terms

for Loancore’s takeover of management and control of REL.

          101.    The “Preamble” of the Heads Agreement provided that ISD was negotiating

binding agreements with SGGD and Bestest to take over the entire shareholding of SGGD for the

assumption of debts and liabilities of SGGD and Bestest in order to gain control of approximately

22% of REL (“SGGD Transaction”).




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         102.     The Heads Agreement stated that the purposes of the SGGD Transaction was to

affect a change of control/management at REL in order to facilitate an investment by a “consortium

of overseas investors” in REL, with Loancore exiting its holding in SGGD in favor of the overseas

investors when they were brought in.

         103.     The Heads Agreement also provided that RHC Holdings would cooperate with

Loancore to “facilitate the transfer, sale or assignment of the Nonperforming Corporate Loan Book

in the amount of approximately INR 2200 Crores from RFL by making the agreed to contributions

as outlined [therein].” Loancore committed to raise up to Euro 225 million from third party

investors to meet the financial requirements of REL.

         104.     On or about November 1 – 5, 2017, in furtherance of the SGGD Transaction, ISD,

SGGD, Bestest and Dhillon, entered into a binding Letter of Intent whereby ISD agreed to invest

an amount equal to redeem, repay and otherwise payoff the liabilities of SGGD, Bestest and

Dhillon within 90 days of the execution of the Letter of Intent. In return for the payment and

satisfaction of the liabilities, ISD would receive from SGGD, Bestest and Dhillon title and interest

in 31,244,279 shares of REL.

         105.     On November 6, 2017, ISD assigned its rights and liabilities under the Letter of

Intent to Loancore.

         106.     Also on November 6, 2017, Loancore, SGGD and Bestest entered into an

Undertaking and Agreement (“Undertaking and Agreement”).

         107.     The Undertaking and Agreement acknowledged that Loancore replaced ISD in the

Letter of Intent.      Furthermore, the Undertaking and Agreement provided that “due to the

diminution in value of the collateral/security underlying the liabilities of SGGD . . . . [i]n order to

protect Loancore, SGGD is providing Loancore with an unconditional and irrevocable assured




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indemnity in the amount of Indian Rupees Seventy Crores (Rs 70,00,00,000.00), to protect

Loancore against all claims, losses, cost, damages, liability, or arising from any accident, injury or

damage whatsoever associated with the [Letter of Intent].”

         108.     On November 6, 2017, LVB reinstated the fixed deposits of RFL in the amount of

approximately Rupees 750 Crores, which were the subject of the RFL Loan.

         109.     On November 17, 2017, in furtherance of the Heads of Agreement, REL appointed

Loancore’s nominee Francis Lee to the Board of Directors of REL.

         110.     Once Mr. Francis Lee was appointed to the Board of REL, it was determined that

the representations by JP Morgan were grossly inadequate and misleading.

         111.     Plaintiff discovered huge financial holes within REL and its substantial subsidiary

RFL and an instance where LVB Bank, a private bank under operational control of the Reserve

Bank of India had, substantially assisted the Singh Brothers in siphoning approximately $100

million from RFL.

         112.     The new revelations which Mr. Lee uncovered included a) a fraudulent transaction

with LVB and b) contra loans – where RFL made loans to third parties only for the purpose of

routing funds to the Singh Brothers.

         113.     Upon information and belief, the total amount of the new financial fraud uncovered

by Mr. Lee was approximately $450 million.

         114.     Furthermore, Mr. Lee learned of concealed liabilities such as statutory liabilities

totaling approximate $75 million.

         115.     In addition, Mr. Lee learned that RFL was in default of its loan covenants and the

rating agencies had threatened to withdraw RFL’s favorable rating.




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         116.     These discoveries by Mr. Lee should have all been known to and reported by JP

Morgan as agent of REL.

         117.     On November 20, 2017, Loancore and REL entered into a Penalty Fee Agreement

(“Penalty Fee Agreement”).

         118.     The Penalty Fee Agreement was for a term of one (1) year. It defined Loancore

and REL’s “Material Understandings” as the parties’ “various discussions, agreements,

arrangements, commitments and/or understanding whether oral or in writing . . . pertaining to the

management of Religare.”

         119.     The Penalty Fee Agreement stated:

                  A “Triggering Event” shall be deemed to have occurred at such time
                  as any of the following events: in the event the Material
                  Understandings are terminated by [REL] for any reason whatsoever,
                  including the non-receipt of Board/Shareholder Approvals and/or in
                  the event [REL] withdraws form the Material Understandings for
                  any reason whatsoever.

         120.     The Penalty Fee Agreement provided at Paragraph 4:

                  PENALTY: At the end of the Term if there has been a Triggering
                  Event then a) the Company shall pay the Vendor the sum of Indian
                  Rupees One Hundred and Twenty-Five Crores (Rs. 1,25,00,00,000.00)
                  Only within five (5) days of having received a Demand Notice from
                  the Vendor or b) issue shares of the Company for an amount of Indian
                  Rupees One Hundred and Twenty-Five Crores (Rs. 1,25,00,00,000.00)
                  Only or any such amount representing Twenty-Four- and One-Half
                  Percent (24.5%) of the fully diluted equity interest of Company
                  (Shares). The obligation of the Company to issue and deliver any
                  Shares in accordance [sic] the foregoing shall be subject to any
                  necessary approval of stockholders or any stock exchange or regulatory
                  authority having jurisdiction over the securities of the Company. If any
                  Shares cannot be issued for whatever reason, the obligation of the
                  Company to issue such Shares shall terminate and the Company shall
                  be liable to pay the said amount only in cash.




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         121.     Loancore never paid off the liabilities of SGGD, Bestest and Dhillon as

contemplated by the Letter of Intent because, within 90 days of the execution of the Letter of

Intent, REL unlawfully transferred the shares pledged to Loancore to others.

         122.     Upon information and belief, when Defendants learned of Mr. Lee’s uncovering of

their nefarious acts in connection with the Singh Brothers, Defendants conspired to conceal their

involvement with the Singh Brothers and cutout Loancore.              In an effort to coverup their

involvement with the Singh Brothers and feign ignorance, the Defendants commenced lawsuits

against REL detailing fraud by the Singh Brothers in order to drive down the price of REL’s stock.

         123.     Defendants conspired to replace members of REL’s Board and transfer ownership

in REL.

         124.     In spite of the Letter of Intent, on December 7, 2017 and December 14, 2017, in

furtherance of the racketeering conspiracy, REL unlawfully transferred the shares in REL pledged

to Loancore to IHF, Bay Capital and RIGF.

         125.     Defendants IFC, NYLIM and Siguler, which at the time held substantial ownership

of and had representatives who held Board of Directors positions at REL, orchestrated REL’s

illegal transfer of the shares to IHF, Bay Capital and RIGF in order to obfuscate their complicity

in the Singh Brothers’ scheme.

         126.     Defendants IHF, Bay Capital and RIGF were shell entities utilized by REL to retain

the shares.

         127.     In furtherance of the conspiracy and enterprise, Defendants utilized the mail, phone

calls and emails to and from the United States to give instructions to appoint members of Bay

Capital, including Siddharth Mehta, to the Board of Directors.




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         128.     This was a conspiracy to takeover REL by IHF, Bay Capital and RIGF. REL’s

transfer of the shares amounted to a breach of the Letter of Intent which constituted a “Triggering

Event” under the Penalty Fee Agreement.

         129.     On January 24, 2018, Defendants, in furtherance of the conspiracy with one

another, agreed to grant an indemnity to the Singh Brothers for all loans owed by the Singh

Brothers to REL.

         130.     Defendants IFC, NYLIM and Siguler stepped away from the Board and procured

the installation of Siddharth Mehta of Bay Capital and Sham Maheshwari of SSG as board

members and forced the representative of Plaintiff’s Predecessor to resign shortly thereafter.

         131.     On February 10, 2018, REL issued a letter to Francis Lee terminating his

employment at REL. REL’s termination of Mr. Lee violated Paragraph 4 of the Heads Agreement.

         132.     On November 27, 2018, Loancore issued a demand notice to REL based upon the

Penalty Fee Agreement, demanding payment of Rs. 1,250,000,000.00, the equivalent of

approximately $16.5 million.

         133.     On December 10, 2018, REL responded to Loancore’s demand. REL’s response

wrongfully denied the existence of the Penalty Fee Agreement and unlawfully contended that the

demand was deficient under the law.

III.     Religare Brand Scheme

         134.     Strategic is a 100% subsidiary of PFH.

         135.     RHC Holdings, REL, RFL and Ranchem are associated companies.

         136.     Elive is a “special purpose vehicle” organized by Plaintiff’s Predecessors for the

purpose of securing the ‘Religare’ brand/trademark (“the Brand”) for the benefit of Strategic and

PFH in connection with the transactions with the Religare Defendants.




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         137.     The Brand is a filed trademark in the United States Patent and Trademark Office.

         138.     Strategic and PFH were in the business of buying and restructuring debts.

         139.     Strategic and PFH entered into an agreement with REL whereby REL would

transfer the Brand to Elive. RHC, which owned all of the shares of Elive at the time of the transfer

would transfer the shares of Elive to Strategic and PFH. REL would then transfer the Brand to

Strategic and PFH.

         140.     On November 1, 2017, RHC assigned the Brand to Elive.

         141.     Thereafter, the following took place:

         a.       The Religare Defendants advised Strategic and PFH that RHC Holdings and

Ranchem owed an unsecured debt of Rs 750 crores (“RHC/Ranchem Debt”) to LVB.

         b.       LVB demanded security for the RHC/Ranchem Debt.

         c.       REL requested that Strategic and PFH agree to a structure whereby Elive would

give security to LVB for the RHC/Ranchem Debt in the form of the Brand.

         d.       In exchange for Strategic and PFH consenting to the use of the Brand (valued at

approximately Rs 1100 crores) as security for the RHC/Ranchem Debt, LVB would agree to

provide a loan to Plaintiff’s Predecessors in the amount of Rs 350 crores.

         e.       REL agreed with Strategic and PFH that REL would arrange for the funds to buy

back the Brand from Elive for approximately Rs 1100 crores.

         142.     On November 8, 2017, REL issued a letter to Elive confirming that REL would

purchase the Brand from Elive for up to Rs 1100 crores, subject to an independent valuation.

         143.     On November 9, 2017, Elive passed a resolution transferring RHC’s shares to

Strategic (5,000 shares) and PFH (5,000 shares).




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         144.     On November 9, 2017, Elive passed another resolution providing: i) a corporate

guarantee in favor of LVB for a loan to RHC and Ranchem (i.e. RHC/Ranchem Debt) ; ii) a

corporate guarantee in favor of LVB for a loan to Strategic and PFH; iii) a mortgage of the Brand

in favor of LVB for the loan to RHC and Ranchem; iv) a mortgage of the Brand in favor of LVB

for the loan to Strategic and PFH; and v) Elive would open an escrow account with LVB and any

funds received for the sale of the Brand would be deposited in the escrow account, which LVB

could use to apply toward the loans.

         145.     On December 4, 2017, LVB issued a letter to PFH confirming a loan in the amount

of Rs 150 crores.

         146.     On December 4, 2017, LVB issued a letter to Strategic confirming a loan in the

amount of Rs 200 crores.

         147.     On December 8, 2017, PFH issued a letter to LVB requesting disbursement of the

loan in the amount of Rs 150 crores.

         148.     On December 8, 2017, Strategic issued a letter to LVB requesting disbursement of

the loan in the amount of Rs 200 crores.

         149.     On December 20, 2017, VGrow Advisors Private Limited issued a valuation report

for the Brand.

         150.     LVB never disbursed the loan funds in the amount of Rs 350 crores to PFH or

Strategic.

         151.     On February 14, 2018, the Singh Brothers stepped down from the Board of

Directors of REL.




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         152.     On February 15, 2018, LVB issued letters cancelling the loans to PFH and Strategic

without specifying a reason and citing to the general cancellation provision in the Clause No. 39

of the December 8, 2017 commitment letters.

         153. On February 22, 2018, an Indian Court entered an order maintaining the status quo

and restraining LVB, RHC Holdings, REL, RFL and Ranchem from transferring and otherwise

diluting the value of the Brand.

IV.      The Fortis Scheme

         154.     PFH is in the business of debt recovery and asset servicing.

         155.     RHC Holdings, Fortis Ltd., Fortis Holdings, RHC Healthcare and SRL are related

companies in connection with the brands ‘Fortis’, ‘SRL’, and ‘La Femme’.

         156.     RHC Holdings was the sole owner of the trademark “Fortis.”

         157.     On October 7, 2015, RHC Holdings and Fortis Ltd. entered into a Brand License

Agreement, whereby RHC Holdings granted a continued license to Fortis Ltd. to use the Fortis

trademark.

         158.     The October 7, 2015 Brand License Agreement provided that in addition to India,

the Fortis trademark was registered in United Arab Emirates, Singapore, Qatar and Hong Kong.

         159.     RHC Holdings was the sole owner of the trademark “SRL.”

         160.     On November 10, 2015, RHC Holdings and SRL entered into a Brand License

Agreement, whereby RHC Holdings granted a continued license to SRL to use the SRL trademark.

         161.     RHC Holdings was the owner of the trademark “La Femme.”

         162.     On or about June 14, 2017, RHC Holdings, as assignor, and RHC Healthcare, as

assignee, entered into an Assignment Deed, whereby RHC Holdings assigned its rights to certain

trademarks to RHC Healthcare, including certain Fortis and La Femme trademarks.




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          163.    In or about June 2017, IHH Berhad signed an exclusivity agreement for the

purchase of Fortis Ltd. At all relevant times, Khazanah was the majority shareholder of IHH and

directed the actions of IHH.

          164.    On or about June 28, 2017, IHH Berhad pulled out of the deal because of concerns

regarding a litigation which exposed REL to potentially 3,500 crore liability which froze the Singh

Brothers’ shares in various businesses.

          165.    On or about August 31, 2017 – the Supreme Court of India restrained Singh

Brothers from selling Fortis Ltd. shares and restrained lenders from selling pledged shares of

Fortis.

          166.    During August and September 2017, Walmark and Fortis Ltd. engaged in detailed

discussions and negotiations to outline the structure of terms of a non-binding term sheet and to

decide on the form, structure, value and viability of the transaction as per Indian laws.

          167.    In or about September 2017, PFH and RHC Holdings began negotiating a deal to

resolve differences between the parties. The proposed terms provided that RHC Holdings would

provide PFH with certain financial surety collateralized by brand agreements or licenses.

          168.    On September 1, 2017, Walmark and PFH entered into a Transaction Facilitation

& Support Services Agreement (“Facilitation Agreement”) for PFH to serve as a facilitator for a

transaction between Walmark and Fortis Ltd.

          169.    Like Loancore, Walmark was a special purpose vehicle specifically established by

the Ekahi Group for purposes of a transaction with Fortis Ltd. in order to fund the acquisition of

shares of RHT.

          170.    On or about September 11, 2017, based on a tele-conference between PFH,

Walmark and Fortis Ltd. as a condition precedent, the parties agreed to use a common




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“transactional counsel” and “advisers”, the central purpose of which as communicated by Ms.

Snigdha Khemka (Fortis Ltd.’s representative) was to expedite the matter. Accordingly, Walmark

and PFH became fully reliant on advice so furnished to them by Standard Chartered and other

concerns, who cited various regulatory oversight to devise a structure for the transaction.

         171.     On September 26, 2017, Walmark entered into a non-binding term sheet with Fortis

Ltd. (“NBTS”).

         172.     Defendant Bhavdeep Singh, the Chief Executive Officer of Fortis Ltd. signed the

NBTS on behalf of Fortis Ltd.

         173.     The NBTS provided for an approximately $600 million transaction whereby

Walmark would receive shares in Fortis Ltd. up to 25% and additionally Walmark had the right to

acquire the brand “Fortis” and all other related brands of Fortis Ltd.

         174.     Immediately after executing the NBTS, Fortis Ltd. began insisting on immediate

execution of a binding term sheet in order to receive the first tranche of funding.

         175.     Walmark’s due diligence in connection with the deal with Fortis Ltd. and RHC

Holdings was limited to documents/records produced by Fortis Ltd. and its agent JP Morgan.

         176.     Between September 12 and October 7, 2017, JP Morgan, as agent for Fortis Ltd.,

forwarded fraudulent reports to Walmark which Walmark relied upon in considering the

transaction.

         177.     The JP Morgan Reports provided that RFL loans were collateralized, however the

loans were not collateralized and the funds were actually being siphoned from the company by the

Singh Brothers.




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         178.     The value of REL rested with RFL and that is what Walmark relied upon in entering

the transaction. However, the JP Morgan Reports were false and the RFL numbers in the reports

were part of a ruse by Defendants to inflate the value of REL, RFL and Fortis Ltd..

         179.     On October 27, 2017, Mr. Shivinder Singh, Vice Chairman of Fortis Ltd., emailed

Walmark introducing defendant Bhavdeep Singh to Walmark and PFH stating, “I’m taking the

liberty to copy our CEO Mr. Bhavdeep Singh who would be critical to lead this process.”

         180.     In furtherance of the overall fraud, on November 14, 2017, Fortis Ltd. issued a press

release that it executed a term sheet for the purchase of the entire portfolio of assets of RHT. The

press release gave the impression to the whole world that the deal would be finalized and a binding

term sheet would be entered.

         181.     In furtherance of the enterprise, Fortis Ltd. continued pushing toward a binding

Term Sheet with Walmark. However, Walmark was reluctant as it had discovered underreporting

of approximately $100 million of losses by Fortis Ltd.

         181.     After much negotiation, Fortis Ltd. and Walmark changed the transaction structure

on November 19, 2017 and Fortis Ltd. distributed a proposed final binding term sheet on

November 28, 2017.

         182.     From December 3 - December 6, 2017, representatives of Walmark and PFH

attended meetings with representatives of Fortis Ltd. in India. During this time, the parties

conducted extensive discussions spanning over several days to finalize the binding term sheet.

         183. On December 6, 2017, Walmark and Fortis Ltd. entered into a binding term sheet

(“BTS”). Pursuant to the BTS, Fortis Ltd. agreed to sell 108,333,333 equity shares to Walmark at

a price of Rs. 180 per share. Walmark also agreed to purchase INR 822 crores (Euro 110 million)




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worth of Religare Health Trust bonds redeemable after 5 years. Bhavdeep Singh did not attend the

meeting at which Walmark signed the BTS, but Walmark was assured he would sign the BTS.

         184.     At the time of the signing of the BTS, two (2) Side Letters were also executed to

implement the carefully designed commercial structure and understanding, which would have

ensured the return of the funds siphoned by the Singh Brothers to Fortis Ltd. and also assured that

Walmark would be paid a substantial breakup fee, in the event of a transaction failure.

         185.     In December 2017, in order to facilitate the investment by Walmark and a financial

exit by PFH, Walmark entered into a Side Letter with Fortis Ltd. and Fortis Holding (“December

2017 Side Letter”).

         186.     The December 2017 Side Letter provided that Walmark agreed to provide Fortis

Ltd. with interim financing of Euro 90 million “against the pledged [sic] of the Brands associated

with Fortis.” It further provided, “This shall be repaid by the purchase of the Brand from the

proceeds of the Investment.”3

         187.     The December 2017 Side Letter provided PFH entered into an acquisition of the

“Brands” of Fortis Ltd. and that in lieu of payments to be made by PFH for Inter Corporate

Deposits, PFH would contribute the Fortis Brands to Fortis Ltd.

         188.     The Side Letter provided that “[PFH] is to receive the gross of differential

settlement proceeds, i.e. Brand Value Accepted by [Fortis Ltd.] - ICD Acquisition Consideration

and [Walmark] agree[d] to use the proceeds of the financing as per [the December 6, 2017 Term

Sheet] for this purpose.”

         189.     On December 6, 2017, Walmark and Fortis Ltd. entered into a second Side Letter.




3
    “Investment” is defined as the investment by Walmark into Fortis Ltd.


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         190.     The December 6, 2017 Side Letter acknowledged Walmark was induced to enter

into the December 6, 2017 Term Sheet by covenants and agreements confirming “Brand

Ownership by [PFH]” free and clear and not subject to any third-party liens or encumbrances.

         191.     The December 6, 2017 Side Letter provided that Walmark shall be entitled to a

Transaction Breakup Fee if the Seller failed to perform under the December 6 Term Sheet.

Walmark shall be entitled to recover the Transaction Breakup Fee from PFH through the

sale/disposition of the Brands to Fortis Ltd., and Walmark shall be granted a lien on the Brands

with the right to affect a sale until the consummation of the transaction contemplated by the Term

Sheet or the payment of the Transaction Breakup Fee.

         192.     On or about December 29, 2017, defendant Bhavdeep Singh executed the BTS.

         193.     On February 19, 2018, PFH’s attorney submitted to Fortis Ltd. and TPG a demand

for up to INR 900 Crores. PFH’s attorney asserted that the amount claimed was secured by the

brands “Fortis,” “SRL,” and “La Femme.”

         194.     The BTS was binding and the only remaining issue was finalization of Fortis Ltd.’s

balance sheet.

         195.     Fortis Ltd. deliberately delayed finalizing the balance sheet so it could do a deal

with TPG.

         196.     RHC Holdings assigned to PFH the brands Fortis, SRL and La Femme.

         197.     The Brands served as collateral and otherwise Walmark would not have engaged

with Fortis Ltd. or RHC Holdings.

         198.     Walmark was given a right over the Brands as surety to protect the breakup fees

under the agreements and Fortis was bound to purchase the Brands.




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         199.     Against the backdrop of the takeover negotiations by Loancore and Walmark,

Defendants separately and in concert were running a very public campaign against both REL and

Fortis Ltd. and commenced numerous litigations alleging fraud. All of these acts had forced the

share price of these entities to be depressed by at least 30%. With the share price depressed,

Defendants consolidated their shareholding in REL and Fortis Ltd.

         200.     The intention of Defendants was to drive the share price down so SSG could call a

technical default on the loan which was securitized by the shares and prevent Loancore from

asserting its rights.

         201.     Defendants drove the Fortis Ltd. price down so that East Bridge was able to acquire

it at a lower price. Once East Bridge acquired its threshold percentage ownership, it illegally

changed the deal with Walmark.

         202.     In or about February 2018, the Singh Brothers resigned from the Boards of Fortis

Ltd. and REL. The resignation was as a result of a notice sent by Defendants to change the Board.

The resignation also followed a reconstitution of the Boards of Fortis Ltd. and REL.


         203.     In 2018, in furtherance of the enterprise and conspiracy, defendants East Bridge

Capital Master Fund Ltd., East Bridge Capital Master Fund I Ltd., the shareholders of Fortis, and

National Westminster Bank Plc as Trustee of Jupiter India Fund (as represented by Jupiter Asset

Management Limited) issued a requisition from East Bridge Capital Master Fund Ltd., and East

Bridge Capital Master Fund I Ltd., and the shareholders of Fortis Ltd., for induction of Ms.

Suvalaxmi Chakraborty, Defendant Ravi Rajagopal and Mr. Indrajit Banerjee as members of the

Board and removal of Mr. Harpal Singh, Ms. Sabina Vaisoha, Dr. Brian William Tempest and Lt.

Gen. Tejinder Singh Shergill from the directorship of the Fortis Ltd.




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         204.     The Board at its meeting held on April 26, 2018, decided to appoint the new board

members on an immediate basis. Accordingly, Ms. Suvalaxmi Chakraborty, Defendant Ravi

Rajagopal and Mr. Indrajit Banerjee were appointed as Additional Independent Directors w.e.f.

April 27, 2018.

         205.     On or about May 16, 2018, the Fortis Ltd.’s counsel denied the contents of various

email exchanges between the parties reneging on the BTS and the Side Letters.

         206.     On May 16, 2018, Walmark requested Fortis Ltd. bring the BTS before its Board

for confirmation.

         207.     To the shock of Walmark, on May 18, 2018, Fortis Ltd., while not denying the

terms of the BTS, fabricated frivolous reasons to back out of the BTS and Side Letters claiming

that Bhavdeep Singh never signed the BTS, although Fortis Ltd. provided Walmark with a copy

of the BTS with Bhavdeep Singh’s signature on or about December 29, 2020.

         208.     Subsequently, Mr. Harpal Singh, Ms. Sabina Vaisoha and Lt. Gen. Tejinder Singh

Shergill resigned from the directorship w.e.f. May 20, 2018 and the shareholders at its meeting held

on May 22, 2018, and as provided in the Fortis Ltd. annual report, “regularized Ms. Suvalaxmi

Chakraborty, Mr. Ravi Rajagopal and Mr. Indrajit Banerjee as directors of the Company and

removed Dr. Brian William Tempest from directorship.”

         209.     With the illegal installation of the new Board initiated by East Bridge Capital Master

Fund Ltd., and East Bridge Capital Master Fund I Ltd., including Ravi Rajagopal as Chairman,

Fortis Ltd. wrongfully reneged on the BTS.

         210.     Fortis Ltd. announced it would be seeking investments for the acquisition of assets

of RHT by IHH Berhad, which violated the BTS.




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         211.     On October 11, 24 and 26, 2018, Walmark demanded that Fortis Ltd. pay the

breakup fee of Rs 190 crores pursuant to the December 6, 2017 side letter.

         212.     In advancement of the conspiracy, IHH Berhad, at the direction of Khazanah,

ultimately purchased Fortis Ltd. at a depressed valuation.

         213.     IHH Berhad’s purchase of Fortis Ltd. violated the status quo order entered in

Daiichi Sankyo Company Limited v. Malvinder Mohan Singh, which required all disclosed assets

of the Singh Brothers to remain status quo, including the assets belonging to RHC Holdings.

V.       TOTALITY OF THE SCHEMES

         214.     The Religare Scheme (including the Religare Brand Scheme) and the Fortis Scheme

were contrived by common owners, although they ran the schemes through different entities.

         215.     IFC, NYLIM and Siguler, each of which raise extensive funds in the United States,

each held interests and board positions at REL and Fortis Ltd., which were the vehicles for the

overall scheme.

         216.     Defendants knew that Plaintiff had been induced into entering into

investment/acquisition agreements for REL and Fortis Ltd.

         217.     In or about February of 2018, Defendants, congregated, conspired and/or otherwise

collaborated to change the Board of both REL and Fortis Ltd. and have the criminal promoters,

the Singh Brothers step down.

         218.     The methods employed and the tactics deployed in the Religare Scheme and Fortis

Scheme were starkly similar.

         219.     In both the cases, the new investor, Defendants, of REL and Fortis Ltd. had either

initiated sham litigations with these entities or had determined these entities unfit for investment.




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Rather, the very public engagement of these new investor Defendants served to drive down the

share price of both REL and Fortis Ltd.

         220.     In the Religare Scheme the Defendants, including Siddharth Mehta and Sham

Maheshwari, initiated litigations in order to drive down the share prices of REL.

         221.     Defendant Siddarth Mehta formed a coalition with IFC, NYLIM, Siguler, SSG and

Bay Capital in order to execute the Religare scheme.

         222.     In the case of both REL and Fortis Ltd., after the optical change of management,

the new investor Defendants went ahead and attempted to and did interfere with the binding

agreements of Walmark and Loancore, and as part of this exercise, managed, manipulated and/or

otherwise orchestrated the denial of the existence of these binding agreements.

         223.     In each instance, Defendants were fully aware that not only had Walmark and

Loancore been fraudulently induced into the transactions with REL and Fortis Ltd., but at the

request of Defendants, there was a deliberate attempt to use Walmark and Loancore for other

fraudulent activity in order to cover-up the culpability of Defendants.

         224.     In the case of REL, under the instructions of the new investor Defendants, duped

Loancore into entering into a transaction with LVB Bank as set forth in Section III, above.

         225.     Moreover, in the case of REL, Siddarth Mehta formed a coalition with IFC,

NYLIM, Siguler, SSG and Bay Capital conspired to commence a malicious prosecution against

Loancore in order to further obfuscate the rights of Loancore.

         226.     Upon information and belief, the sham of Bay Capital’s acquisition of interest in

REL is only further highlighted by Bay Capital’s failure to infuse the funds into REL.

         227.     In the case of Fortis Ltd., Walmark was duped into a transaction to agree to pay for

a balance sheet cleanup. These transactions did not materialize upon the discovery of the fraud by




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Plaintiff’s Predecessors, but, in each instance the transactions were structured to enable the new

investor Defendants to avoid confirming the existence of that facts pertaining to the very obvious

fund siphoning by the former promoters of REL and Fortis Ltd..

         228.     In both the Religare Scheme and the Fortis Scheme, the new investor Defendants

of REL and Fortis Ltd. publicly stated that they were aware of the financial malfeasance at both

REL and Fortis Ltd. and in the case of REL, even went so far as to pursue remedies for oppression

and mismanagement.

         229.     In both instances, the new investor Defendants falsely and fraudulently claimed that

they only discovered this fraud upon taking over management and control. Defendants, while

proclaiming to be aggrieved and to be activists upon taking control continued, to and still continue

to work with close affiliates and confidants of the Singh Brothers.

         230.     The new investor Defendants had a clear understanding with the former promoters,

the Singh Brothers, and when their own integrity was questioned, retaliated against Plaintiff’s

Predecessors.

         231.     In the Religare Scheme and the Fortis Scheme, the new investor Defendants did

conspire, combine, confederate and agree together to create impediments in the takeover of the

brands of REL and Fortis Ltd. by Walmark and Loancore

         232.     It was Plaintiff’s Predecessors that had forced REL and Fortis Ltd. to disclose the

frauds during the due diligence.

         233.     It was Plaintiff who refused to renegotiate leases with the Singh Brothers at twice

the market rent.

         234.     REL and Fortis Ltd. and the Singh Brothers were one economic unit and on account

of the method or modality of the illegal takeover of these enterprises, the new investor Defendants




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have both successor and alter ego liability. The transactions are nothing but deemed mergers and

for which the liability of these entities must be applied to those in control of the management and

affairs.

                                     FIRST COUNT
   (Federal Racketeering Influenced and Corrupt Organizations (“RICO”) Act § 1962(c))

           235.   Plaintiff repeats and realleges each paragraph set forth above as if set forth at length

herein.

           236.   18 U.S.C. § 1962(c) defines the activities prohibited under RICO, in pertinent part:

                  It shall be unlawful for any person employed by or associated with
                  any enterprise engaged in, or the activities of which affect, interstate
                  or foreign commerce, to conduct or participate, directly or
                  indirectly, in the conduct of such enterprise's affairs through a
                  pattern of racketeering activity.

           237.   Defendants Bhavdeep Singh, Fortis Ltd., East Bridge, Fortis Holdings, IHH

Berhad, Khazanah, NTVP, RHC Holdings, RHC Healthcare, SRL, REL, RFL, LVB, Ranchem,

NYLIM, IFC, Siguler, Bay Capital, SSG, IHF, RIGF, RHT, Ravi Rajagopal, Siddarth Mehta and

Sham Maheshwari acted collectively as an enterprise and each conducted or participated, directly

or indirectly, in the conduct of the enterprise’s affairs.

           238.   The activity of the enterprise or the predicate acts of the racketeering affect

interstate commerce and foreign commerce.

           239.   Defendants Bhavdeep Singh, Fortis Ltd., East Bridge, Fortis Holdings, IHH

Berhad, Khazanah, NTVP, RHC Holdings, RHC Healthcare, SRL, REL, RFL, LVB, Ranchem,

NYLIM, IFC, Siguler, Bay Capital, SSG, IHF, RIGF, RHT, Ravi Rajagopal, Siddarth Mehta and

Sham Maheshwari agreed to and did conduct and participate in the conduct of the enterprise’s

affairs through a pattern of racketeering activity and for the unlawful purpose of intentionally

defrauding Plaintiff’s Predecessors.



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         240.     Pursuant to and in furtherance of their schemes to defraud Plaintiff, Defendants

Bhavdeep Singh, Fortis Ltd., East Bridge, Fortis Holdings, IHH Berhad, Khazanah, NTVP, RHC

Holdings, RHC Healthcare, SRL, REL, RFL, LVB, Ranchem, NYLIM, IFC, Siguler, Bay Capital,

SSG, IHF, RIGF, RHT, Ravi Rajagopal, Siddarth Mehta and Sham Maheshwari committed

multiple related acts of wire fraud and mail fraud.

         241.     The pattern of racketeering activity in which Defendants engaged and conspired to

engage were predicate acts in violation of 18 U.S.C. § 1961(1)(B): § 1341 (mail fraud); § 1343

(wire fraud); § 1346 (honest services fraud); § 1956 (money laundering) and aided and abetted in

fraud in the sale of securities.

         242.     Defendants knowingly used the interstate mails and the wires to further that scheme

with the intent to defraud, including, but not limited to, the following acts:

         a.       East Bridge used the email and wires to move for an extraordinary general meeting

to change the board.

         b.       East Bridge used the mail and wires to give instructions to appoint their

representatives.

         c.       East Bridge used the mail and wires to give instructions to reject the Walmark

transaction.

         d.       East Bridge used the mail and wires to give instructions to accept the offer of IHH.

         e.       IFC used the mail and wires to give instructions to appoint the members of Bay

Capital to the board.

         f.       IFC used the mail and wires to reject the Loancore transaction.

         g.       Defendants used the mail and wires to initiate and instruct sham litigations.




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         h.       Defendants used the mail and wires in furtherance of the formation and association

among the defendants, including the association between and among IFC, NYLIM, Siguler, SSG

and Bay Capital.

         i.       Defendants used the mail and wires in furtherance of creating documentation to

hinder the Plaintiff’s rights to the Religare, Fortis, SRL and La Femme brands.

         j.       Defendants used the mail and wires to commence and advance a malicious

prosecution against Loancore in order to further obfuscate the rights of Loancore.

         k.       Defendants used the mail and wires to baselessly and illegally reject the claims of

Walmark and Loancore.

         l.       Bhavdeep Singh, Ravi Rajagopal, Siddarth Mehta and Sham Maheshwari used the

mail and wires as fiduciaries of REL and Fortis Ltd. to further the fraudulent schemes.

         m.       Defendants used the mail and wires to conduct financial transactions which

involved the proceeds of the Singh Brothers’ unlawful activity, effectively laundering the Singh

Brothers’ money.

         243.     Defendants pursued their schemes through material misrepresentations or material

omissions and nondisclosures relating to REL and Fortis Ltd.

         244.     Both of the Defendants’ schemes aided and abetted the Singh Brothers’ fraud in the

sale of securities, for which the Singh Brothers have been criminally convicted.

         245.     While the Defendants purportedly conduct legitimate businesses, the predicate acts

were the regular way the Defendants operated their businesses.

         246.     There remains a threat of continued criminal activity by the Defendants in schemes

patterned after the REL and Fortis Ltd. schemes and the continued execution of the REL and Fortis

Ltd. schemes.




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          247.    The acts set forth above constitute a pattern of racketeering activity pursuant to 18

U.S.C.A. § 1961(5) inasmuch as in both the REL scheme and Fortis Ltd. scheme the following

occurred: Plaintiff’s Predecessors discovered and refused to be complicit in criminal activity, i.e.

the Singh Brothers’ financial crimes; the Defendants replaced board members at both REL and

Fortis; Defendants drove down stock prices through sham lawsuits and negative media reports;

the new boards populated by associates of the Defendants reneged on the agreements with the

Plaintiff’s Predecessors; and Defendants and their affiliates invested in the companies at a reduced

price .

          248.    Defendants have directly and indirectly conducted and participated in the conduct

of the enterprise’s affairs through the pattern of racketeering and activity described above, in

violation of 18 U.S.C.A. § 1962(c).

          249.    As a direct and proximate result of Defendants’ racketeering activities and

violations of 18 U.S.C.A. § 1962(c), Plaintiff has been injured in its business and property in that

it suffered business losses and losses of intangible assets.

          WHEREFORE, Plaintiff respectfully requests that the Court enter judgment against

Defendants Bhavdeep Singh, Fortis Ltd., East Bridge, Fortis Holdings, IHH Berhad, Khazanah,

NTVP, RHC Holdings, RHC Healthcare, SRL, REL, RFL, LVB, Ranchem, NYLIM, IFC, Siguler,

Bay Capital, SSG, IHF, RIGF, RHT, Ravi Rajagopal, Siddarth Mehta and Sham Maheshwari,

jointly and severally, as follows:

          A.      Enjoining Defendants from alienating or otherwise transferring any shares they

hold in REL and/or Fortis Ltd.;

          B.      Enjoining Defendants from selling any assets of REL and/or Fortis Ltd.

          C.      Awarding treble, actual and compensatory damages;




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         D.       Awarding punitive damages;

         E.       Awarding pre and post judgment interest;

         F.       Awarding counsel fees, expenses and costs; and

         G.       Awarding such other relief as equitable and appropriate under the circumstances.

                                         SECOND COUNT
                                      (Federal RICO § 1962(d))

         250.     Plaintiff repeats and realleges each of the foregoing paragraphs as if set forth at

length herein.

         251.     As set forth above, Defendants agreed and conspired to violate 18 U.S.C.A. § 1962

(c). Specifically, Defendants conspired to conduct and participate in the conduct of the affairs of

the enterprise through a pattern of racketeering activity.

         252.     Defendants have intentionally conspired and agreed to directly and indirectly

participate in the conduct of the affairs of the enterprise through a pattern of racketeering activity.

         253.     Defendants knew that their predicate acts were part of a pattern of racketeering

activity and agreed to the commission of those acts to further the schemes described above.

         254.     That conduct constitutes a conspiracy to violate 18 U.S.C.A. § 1962(c), in violation

of 18 U.S.C.A. § 1962(d).

         255.     As direct and proximate result of Defendants’ conspiracy, the overt acts taken in

furtherance of that conspiracy, and violations of 18 U.S.C.A. § 1962(d), Plaintiff has been injured

in its business and property in that it suffered business losses and losses of intangible assets.

         WHEREFORE, Plaintiff respectfully requests that the Court enter judgment against

Defendants Bhavdeep Singh, Fortis Ltd., East Bridge, Fortis Holdings, IHH Berhad, Khazanah,

NTVP, RHC Holdings, RHC Healthcare, SRL, REL, RFL, LVB, Ranchem, NYLIM, IFC, Siguler,




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Bay Capital, SSG, IHF, RIGF, RHT, Ravi Rajagopal, Siddarth Mehta and Sham Maheshwari

jointly and severally as follows:

          A.      Enjoining Defendants from alienating or otherwise transferring any shares they

hold in REL and/or Fortis Ltd.;

          B.      Enjoining Defendants from selling any assets of REL and/or Fortis Ltd.

          C.      Awarding treble, actual and compensatory damages;

          D.      Awarding punitive damages;

          E.      Awarding pre and post judgment interest;

          F.      Awarding counsel fees, expenses and costs; and

          G.      Awarding such other relief as equitable and appropriate under the circumstances.

                                         THIRD COUNT
                           (Breach of Contract – Penalty Fee Agreement)

          256.    Plaintiff repeats and realleges each paragraph set forth above as if set forth at length

herein.

          257.    On November 20, 2017, for valid consideration Loancore and REL entered into the

Penalty Fee Agreement.

          258.    The Penalty Fee Agreement was for a term of one (1) year. It defined Loancore

and REL’s “Material Understandings” as the parties’ “various discussions, agreements,

arrangements, commitments and/or understanding whether oral or in writing . . . pertaining to the

management of Religare.”

          259.    The Penalty Fee Agreement stated:

                  A “Triggering Event” shall be deemed to have occurred at such time
                  as any of the following events: in the event the Material
                  Understandings are terminated by [REL] for any reason whatsoever,
                  including the non-receipt of Board/Shareholder Approvals and/or in




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                  the event [REL] withdraws form the Material Understandings for
                  any reason whatsoever.

         260.     The Penalty Fee Agreement provided at Paragraph 4:

                  PENALTY: At the end of the Term if there has been a Triggering
                  Event then a) the Company shall pay the Vendor the sum of Indian
                  Rupees One Hundred and Twenty-Five Crores (Rs. 1,25,00,00,000.00)
                  Only within five (5) days of having received a Demand Notice from
                  the Vendor or b) issue shares of the Company for an amount of Indian
                  Rupees One Hundred and Twenty-Five Crores (Rs. 1,25,00,00,000.00)
                  Only or any such amount representing Twenty-Four- and One-Half
                  Percent (24.5%) of the fully diluted equity interest of Company
                  (Shares). The obligation of the Company to issue and deliver any
                  Shares in accordance [sic] the foregoing shall be subject to any
                  necessary approval of stockholders or any stock exchange or regulatory
                  authority having jurisdiction over the securities of the Company. If any
                  Shares cannot be issued for whatever reason, the obligation of the
                  Company to issue such Shares shall terminate and the Company shall
                  be liable to pay the said amount only in cash.


         261.     The Letter of Intent provided Loancore was to receive 31,244,279 shares of REL

in exchange for Loancore paying off the liabilities SGGD, Bestest and Dhillon.

         262.     In spite of the Letter of Intent, on December 7, 2017 and December 14, 2017, REL

unlawfully transferred the shares in REL pledged to Loancore to IHF, Bay Capital and RIGF.

         263.     REL’s transfer of the shares terminated a Material Understanding with Loancore

and constituted a “Triggering Event” under the Penalty Fee Agreement, entitling Loancore to

collect the Penalty set forth in the Penalty Fee Agreement.

         264.     On November 27, 2018, Loancore issued a demand notice to REL based upon the

Penalty Fee Agreement, demanding payment of Rs. 1,250,000,000.00, the equivalent of

approximately $16.5 million.




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          265.    On December 10, 2018, REL responded to Loancore’s demand. REL’s response

wrongfully denied the existence of the Penalty Fee Agreement and unlawfully contended that the

demand was deficient under the law.

          266.    Plaintiff acquired all rights and remedies of Loancore under the Penalty Fee

Agreement.

          267.    The actions of REL constitute a breach of the terms of the Penalty Fee Agreement.

          268.    Loancore sustained damages as a result of REL’s breach of the Penalty Fee

Agreement.

          WHEREFORE, Plaintiff respectfully requests that the Court enter judgment against

Defendant Religare Enterprises Limited, as follows:

          A.      Enjoining REL from selling any assets of REL;

          B.      Awarding compensatory damages;

          C.      Awarding punitive damages;

          D.      Awarding pre and post judgment interest;

          E.      Awarding counsel fees, expenses and costs; and

          F.      Awarding such other relief as equitable and appropriate under the circumstances.

                                  FOURTH COUNT
  (Breach of Implied Covenant of Good Faith and Fair Dealing – Penalty Fee Agreement)

          269.    Plaintiff repeats and realleges each paragraph set forth above as if set forth at length

herein.

          270.    Every contract imposes the duty of good faith and fair dealing upon the parties in

the performance and enforcement of the contract.

          271.    REL has acted in bad faith by not giving equal consideration to the interests of

Loancore as they have their own interests.



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          272.    REL wrongfully and intentionally breached the duty of good faith and fair dealing

by denying Loancore the benefits to which it is entitled under the Penalty Fee Agreement.

          273.    The breaches of the covenant of good faith and fair dealing by REL has proximately

and directly caused damages to Loancore.

          274.    Plaintiff acquired all rights and remedies of Loancore under the Heads of

Agreement.

          WHEREFORE, Plaintiff respectfully requests that the Court enter judgment against

Defendant, Religare Enterprises Limited, as follows:

          A.      Enjoining REL from selling any assets of REL;

          B.      Awarding compensatory damages;

          C.      Awarding punitive damages;

          D.      Awarding pre and post judgment interest;

          E.      Awarding counsel fees, expenses and costs; and

          F.      Awarding such other relief as equitable and appropriate under the circumstances.

                                         FIFTH COUNT
                            (Breach of Contract – BTS and Side Letters)

          275.    Plaintiff repeats and realleges each paragraph set forth above as if set forth at length

herein.

          276.    On December 6, 2017, for valid consideration Walmark and Fortis Ltd. entered into

the BTS. Pursuant to the BTS, Fortis Ltd. agreed to sell 108,333,333 equity shares to Walmark at

a price of Rs. 180 per share. Walmark also agreed to purchase INR 822 crores (Euro 110 million)

worth of Religare Health Trust bonds redeemable after 5 years.

          277.    At the time of the signing of the BTS, two (2) Side Letters were also executed.




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         278.     In December 2017, Walmark entered into a Side Letter with Fortis Ltd. and Fortis

Holding.

         279.     The December 2017 Side Letter provided that Walmark agreed to provide Fortis

Ltd. with interim financing of Euro 90 million “against the pledged [sic] of the Brands associated

with Fortis.” It further provided, “This shall be repaid by the purchase of the Brand from the

proceeds of the Investment.”

         280.     The December 2017 Side Letter provided PFH entered into an acquisition of the

“Brands” of Fortis Ltd. and that in lieu of payments to be made by PFH for Inter Corporate

Deposits, PFH would contribute the Fortis Brands to Fortis Ltd.

         281.     The Side Letter provided that “[PFH] is to receive the gross of differential

settlement proceeds, i.e. Brand Value Accepted by [Fortis Ltd.] - ICD Acquisition Consideration

and [Walmark] agree[d] to use the proceeds of the financing as per [the December 6, 2017 Term

Sheet] for this purpose.”

         282.     On December 6, 2017, Walmark and Fortis Ltd. entered into a second Side Letter.

         283.     The December 6, 2017 Side Letter acknowledged Walmark was induced to enter

into the December 6, 2017 Term Sheet by covenants and agreements confirming “Brand

Ownership by [PFH]” free and clear and not subject to any third-party liens or encumbrances.

         284.     The December 6, 2017 Side Letter provided that Walmark shall be entitled to a

Transaction Breakup Fee if the Seller failed to perform under the BTS. Walmark shall be entitled

to recover the Transaction Breakup Fee from Fortis Ltd.

         285.     The BTS was binding and the only remaining issue was finalization of Fortis Ltd.’s

balance sheet.




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         286.     Fortis Ltd. deliberately delayed finalizing the balance sheet so it could do a deal

with TPG.

         287.     Walmark was given a right over the Brands as surety to protect the breakup fee

under the agreements and Fortis was bound to purchase the Brands.

         288.     On or about May 16, 2018, the Fortis Ltd.’s counsel denied the contents of various

email exchanges between the parties reneging on the BTS and the Side Letters.

         289.     On May 16, 2018, Walmark requested Fortis Ltd. bring the BTS before its Board

for confirmation.

         290.     To the shock of Walmark, on May 18, 2018, Fortis Ltd., while not denying the

terms of the BTS, fabricated frivolous reasons to back out of the BTS and Side Letters, claiming

that Bhavdeep Singh never signed the BTS, although Fortis Ltd. provided Walmark with a copy

of the BTS with Bhavdeep Singh’s signature on or about December 29, 2020.

         291.     Fortis Ltd. failed and refused to pay the Transaction Breakup Fee.

         292.     Plaintiff acquired all rights and remedies of Walmark under the BTS and Side

Letters.

         293.     The actions of REL constitute a breach of the terms of the BTS and Side Letters.

         294.     Walmark sustained damages as a result of Fortis Ltd.’s breach of the BTS and Side

Letters.

         WHEREFORE, Plaintiff respectfully requests that the Court enter judgment against

Defendant Fortis Ltd. as follows:

         A.       Enjoining Fortis Ltd. from selling any assets of Fortis Ltd.;

         B.       Awarding compensatory damages;

         C.       Awarding punitive damages;




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          D.      Awarding pre and post judgment interest;

          E.      Awarding counsel fees, expenses and costs; and

          F.      Awarding such other relief as equitable and appropriate under the circumstances.

                                    SIXTH COUNT
   (Breach of Implied Covenant of Good Faith and Fair Dealing – BTS and Side Letters)

          295.    Plaintiff repeats and realleges each paragraph set forth above as if set forth at length

herein.

          296.    Every contract imposes the duty of good faith and fair dealing upon the parties in

the performance and enforcement of the contract.

          297.    Fortis Ltd. has acted in bad faith by not giving equal consideration to the interests

of Walmark as they have their own interests.

          298.    Fortis Ltd. wrongfully and intentionally breached the duty of good faith and fair

dealing by denying Walmark the benefits to which it is entitled under the BTS and Side Letters.

          299.    The breaches of the covenant of good faith and fair dealing by Fortis Ltd. has

proximately and directly caused damages to Walmark.

          300.    Plaintiff acquired all rights and remedies of Walmark under the BTS and Side

Letters.

          WHEREFORE, Plaintiff respectfully requests that the Court enter judgment against

Defendant Fortis Ltd. as follows:

          A.      Enjoining Fortis Ltd. from selling any assets of Fortis Ltd.;

          B.      Awarding compensatory damages;

          C.      Awarding punitive damages;

          D.      Awarding pre and post judgment interest;

          E.      Awarding counsel fees, expenses and costs; and



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          F.      Awarding such other relief as equitable and appropriate under the circumstances.

                                   SEVENTH COUNT
    (Breach of Implied Covenant of Good Faith and Fair Dealing – Heads of Agreement)

          301.    Plaintiff repeats and realleges each paragraph set forth above as if set forth at length

herein.

          302.    On October 10, 2017, for valid consideration, Loancore and RHC Holdings entered

into a binding Heads of Agreement setting forth the terms for Loancore’s takeover of management

and control of REL.

          303.    The Heads of Agreement provided RHC Holdings “shall cause the appointment of

a Loancore Designee to the Board of [REL]. RHC acknowledges that the said appointment is a

critical condition precedent to advance the Purpose of this Agreement…”

          304.    On November 17, 2017, in furtherance of the Heads of Agreement, REL appointed

Loancore’s nominee Francis Lee to the Board of Directors of REL.

          305.    Mr. Lee discovered huge financial holes within REL and its subsidiary RFL, and

an instance where LVB Bank, a private bank under operational control of the Reserve Bank of

India, had substantially assisted the Singh Brothers in siphoning approximately $100 million from

RFL.

          306.    These new revelations which Mr. Lee uncovered included a) a fraudulent

transaction with LVB and b) contra loans – where RFL made loans to third parties only for the

purpose of routing funds to the Singh Brothers.

          307.    Upon information and belief, the total amount of the new financial fraud uncovered

by Mr. Lee was approximately $450 million.

          308.    Furthermore, Mr. Lee learned of concealed liabilities such as statutory liabilities

totaling approximate $75 million.



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         309.     In addition, Mr. Lee learned that RFL was in default of its loan covenants and the

rating agencies had threatened to withdraw RFL’s favorable rating.

         310.     On February 10, 2018, less than 3 months after his appointment, RHC Holdings

issued a letter to Mr. Lee terminating him as a member of the Board of Directors at REL as part of

its scheme to coverup its past dealings.

         311.     Every contract imposes the duty of good faith and fair dealing upon the parties in

the performance and enforcement of the contract.

         312.     RHC Holdings has acted in bad faith by not giving equal consideration to the

interests of Loancore as they have their own interests.

         313.     RHC Holdings wrongfully and intentionally breached the duty of good faith and

fair dealing by denying Loancore the benefits to which they are entitled under the Heads of

Agreement.

         314.     The breaches of the covenant of good faith and fair dealing by RHC Holdings has

proximately and directly caused damages to Loancore.

         315.     Plaintiff acquired all rights and remedies of Loancore under the Heads of

Agreement.

         WHEREFORE, Plaintiff respectfully requests that the Court enter judgment against

Defendant, RHC Holdings, as follows:

         A.       Awarding compensatory damages;

         B.       Awarding punitive damages;

         C.       Awarding pre and post judgment interest;

         D.       Awarding counsel fees, expenses and costs; and

         E.       Awarding such other relief as equitable and appropriate under the circumstances.




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                                        EIGHTH COUNT
                         (Fraud in the Inducement – Heads of Agreement)

          316.    Plaintiff repeats and realleges each paragraph set forth above as if set forth at length

herein.

          317.    REL made a material representation of a presently existing or past fact to Loancore

prior to the parties entering into the Heads of Agreement. REL presented the JP Morgan Reports

which falsely stated that RFL loans were collateralized, however the loans were not collateralized

and the funds were actually being siphoned from the company by the Singh Brothers.

          318.    REL      made the       representation      in     the     JP     Morgan       Reports

with knowledge of their falsity.

          319.    REL intended that Loancore rely thereon.

          320.    Loancore relied upon the representations to its detriment, and such reliance was

reasonable.

          321.    Plaintiff acquired all rights and remedies of Loancore under the Heads of

Agreement.

          WHEREFORE, Plaintiff respectfully requests that the Court enter judgment against

Defendant Religare Enterprises Limited, as follows:

          A.      Enjoining REL from selling any assets of REL;

          B.      Awarding compensatory damages;

          C.      Awarding punitive damages;

          D.      Awarding pre and post judgment interest;

          E.      Awarding counsel fees, expenses and costs; and

          F.      Awarding such other relief as equitable and appropriate under the circumstances.

                                            NINTH COUNT



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                   (Tortious Interference with Contract - Penalty Fee Agreement)

          322.    Plaintiff repeats and realleges each paragraph set forth above as if set forth at length

herein.

          323.    Loancore and REL entered into the Penalty Fee Agreement.

          324.    Bhavdeep Singh, Fortis Ltd., East Bridge, Fortis Holdings, IHH Berhad, Khazanah,

NTVP, RHC Holdings, RHC Healthcare, SRL, RFL, LVB, Ranchem, NYLIM, IFC, Siguler, Bay

Capital, SSG, IHF, RIGF, and RHT intentionally interfered with the Penalty Fee Agreement with

malice.

          325.    As a result of said interference Loancore lost the benefits of the Penalty Fee

Agreement and suffered damages.

          WHEREFORE, Plaintiff respectfully requests that the Court enter judgment against

Defendants Bhavdeep Singh, Fortis Ltd., East Bridge, Fortis Holdings, IHH Berhad, Khazanah,

NTVP, RHC Holdings, RHC Healthcare, SRL, RFL, LVB, Ranchem, NYLIM, IFC, Siguler, Bay

Capital, SSG, IHF, RIGF, RHT, Ravi Rajagopal, Siddarth Mehta and Sham Maheshwari, jointly

and severally, as follows:

          A.      Awarding compensatory damages;

          B.      Awarding punitive damages;

          C.      Awarding pre and post judgment interest;

          D.      Awarding counsel fees, expenses and costs; and

          E.      Awarding such other relief as equitable and appropriate under the circumstances.

                                            TENNTH COUNT
                       (Tortious Interference with Contract – BTS and Side Letters)

          326.    Plaintiff repeats and realleges each paragraph set forth above as if set forth at length

herein.



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          327.    Walmark and Fortis Ltd. entered into the BTS and Side Letters.

          328.    East Bridge, Fortis Holdings, IHH Berhad, Khazanah, NTVP, RHC Holdings, RHC

Healthcare, SRL, REL, RFL, LVB, Ranchem, NYLIM, IFC, Siguler, Bay Capital, SSG, IHF,

RIGF, and RHT intentionally interfered with the BTS and Side Letters with malice.

          329.    As a result of said interference Walmark lost the benefits of the BTS and Side

Letters and suffered damages.

          WHEREFORE, Plaintiff respectfully requests that the Court enter judgment against

Defendants East Bridge, Fortis Holdings, IHH Berhad, Khazanah, NTVP, RHC Holdings, RHC

Healthcare, SRL, REL, RFL, LVB, Ranchem, NYLIM, IFC, Siguler, Bay Capital, SSG, IHF,

RIGF, RHT, Ravi Rajagopal, Siddarth Mehta and Sham Maheshwari, jointly and severally, as

follows:

          A.      Awarding compensatory damages;

          B.      Awarding punitive damages;

          C.      Awarding pre and post judgment interest;

          D.      Awarding counsel fees, expenses and costs; and

          E.      Awarding such other relief as equitable and appropriate under the circumstances.

                                      ELEVENTH COUNT
                        (Declaratory Judgment - Brand Ownership - Fortis)

          330.    Plaintiff repeats and realleges each paragraph set forth above as if set forth at length

herein.

          331.    By Deed of Assignment dated February 18, 2019, PFH assigned all rights, title and

interest in the brands of Fortis Ltd., “including but not limited to ‘Fortis’ ‘La Femme’ and ‘SRL’”

to Walmark.

          332.    Plaintiff acquired all rights and remedies of Walmark.



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          WHEREFORE, Plaintiff respectfully request that the Court enter judgment as follows:

          A.      Declaring Plaintiff holds all rights, title and interest in the brands of Fortis Ltd.,

“including but not limited to ‘Fortis’ ‘La Femme’ and ‘SRL;’”

          B.      Awarding compensatory damages including, but not limited to, payment of a

reasonable royalty;

          C.      Awarding punitive damages;

          D.      Awarding pre and post judgment interest;

          E.      Awarding counsel fees, expenses and costs; and

          F.      Awarding such other relief as equitable and appropriate under the circumstances.

                                       TWELFTH COUNT
                       (Declaratory Judgment – Brand Ownership - Religare)

          333.    Plaintiff repeats and realleges each paragraph set forth above as if set forth at length

herein.

          334.    By Deed of Assignment dated February 18, 2019, Strategic and PFH assigned all

rights, title and interest in the brands of Religare to Loancore.

          335.    Plaintiff acquired all rights and remedies of Loancore.

          WHEREFORE, Plaintiff respectfully request that the Court enter judgment as follows:

          A.      Declaring Plaintiff holds all rights, title and interest in the brands of Religare;

          B.      Awarding compensatory damages including, but not limited to, payment of a

reasonable royalty;

          C.      Awarding punitive damages;

          D.      Awarding pre and post judgment interest;

          E.      Awarding counsel fees, expenses and costs; and

          F.      Awarding such other relief as equitable and appropriate under the circumstances.



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                                       THIRTEENTH COUNT
                                           (Conspiracy)

          336.    Plaintiff repeats and realleges each paragraph set forth above as if set forth at length

herein.

          337.    Defendants participated in a confederation with a common design for an unlawful

purpose.

          338.    Plaintiff sustained special damages as a result of Defendants.

          WHEREFORE, Plaintiff respectfully requests that the Court enter judgment against

Defendants as follows:

          A.      Enjoining Defendants from alienating or otherwise transferring any shares they

hold in REL and/or Fortis Ltd.;

          B.      Enjoining Defendants from selling any assets of REL and/or Fortis Ltd.

          C.      Awarding treble, actual and compensatory damages;

          D.      Awarding punitive damages;

          E.      Awarding pre and post judgment interest;

          F.      Awarding counsel fees, expenses and costs; and

          G.      Awarding such other relief as equitable and appropriate under the circumstances.




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Dated: June 16, 2020                             By:     /s/ Lawrence C. Weiner
                                                         LAWRENCE C. WEINER



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